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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                   SOUTHEASTERN DIVISION

    WILLIAM T. COOPER, JAY R.                       )
    HOLCOMB, JEFFERY D. JOHNSON,                    )
    JEREMY S. STOELTING, and JAMES                  )
    D. PATTON,                                      )
                                                    )
                             Plaintiffs,            ) Case No. 1:17-cv-00073
                                                    )
           V.                                       ) Dist. Judge John A. Ross
                                                    )
                                                    )
    CORY HUTCHESON,                                 )
                                                    )
           and                                      )
                                                    )
    SECURUS TECHNOLOGIES, INC.                      )
                                                    )
                                                    )
                             Defendants.            )
                                                    )

                           DEFENDANT SECURUS TECHNOLOGIES, LLC’S
                               MOTION FOR SUMMARY JUDGMENT

          Defendant Securus Technologies, LLC (“Securus”)1 moves for summary judgment

pursuant to Fed. R. Civ. P. 56 as to Plaintiffs’ remaining claims against it for violation of the Fourth

Amendment brought pursuant to 42 U.S.C. § 1983 (Count II) and intrusion upon seclusion under

Missouri law (Count IV). Because the uncontroverted material facts show that Plaintiffs cannot

demonstrate a genuine issue of material fact as to Securus’ liability under either claim, Securus is

entitled to judgment as a matter of law and dismissal of this action against it with prejudice.

          Pursuant to E.D. Mo. Local R. 4.02(B), Securus respectfully requests oral argument on this

motion. This case concerns novel theories of constitutional liability for private entities, and




1
    Securus converted from a corporation to an LLC in January 2020.

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Securus believes that oral argument would be beneficial by providing a full opportunity for the

Court to address any factual or legal issues it believes would affect or govern its determination of

these issues.

         For the reasons stated above and in the Memorandum in Support of its Motion for Summary

Judgment, Statement of Uncontroverted Material Facts, the Declarations of Joshua Conklin and

Adam R. Fox and supporting evidence filed contemporaneously herewith, Securus respectfully

moves this Court for the entry of summary judgment in its favor as to all claims against it, the

dismissal of this action with prejudice as to Securus, and for such other relief as this Court deems

just and proper.



Dated: September 10, 2021                     /s/ Adam R. Fox

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 10, 2021, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will cause an electronic notice to be sent

to all registered counsel of record.



Dated: September 10, 2021                             /s/ Adam R. Fox

                                                      Attorney for Defendant Securus
                                                      Technologies, LLC f/k/a Securus
                                                      Technologies, Inc.




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